Case: 1:10-cv-07633 Document #: 391-1 Filed: 06/05/13 Page 1 of 6 PageID #:4438
Case: 1:10-cv-07633 Document #: 391-1 Filed: 06/05/13 Page 2 of 6 PageID #:4439
Case: 1:10-cv-07633 Document #: 391-1 Filed: 06/05/13 Page 3 of 6 PageID #:4440
Case: 1:10-cv-07633 Document #: 391-1 Filed: 06/05/13 Page 4 of 6 PageID #:4441
Case: 1:10-cv-07633 Document #: 391-1 Filed: 06/05/13 Page 5 of 6 PageID #:4442
Case: 1:10-cv-07633 Document #: 391-1 Filed: 06/05/13 Page 6 of 6 PageID #:4443
